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                        IN THE UNITED STATES DISTRICT COURT                         Af K 2 U 2017

                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Norfolk Division



UNITED STATES OF AMERICA                         CRIMINAL NO. 2:17cr

               V.                                21 U.S.C §841(aXl)
                                                 Distribution and Possession with
JEROME BONEY FRAZIER,                            Intent to Distribute Heroin
 a/k/a Jerome Boney Staley,                      (Counts 1-3)

               Defendant.                        21 U.S.C. §853 and 18 U.S.C. §924(d)
                                                 Forfeiture Allegations

                                            INDICTMENT


                            April 2017 TERM - at Norfolk, Virginia

                                            COUNT ONE


THE GRAND JURY CHARGES THAT:

       On or about February 2,2017, in Suffolk, in the Eastern District of Virginia, defendant

JEROME BONEY FRAZIER, did unlawfully, knowingly, and intentionally distribute

approximately 28 grams of a mixture and substance containing a detectable amount of heroin, a

Schedule I narcotic controlled substance.


         (In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C))


                                            COUNT TWO


THE GRAND JURY FURTHER CHARGES THAT:


       On or about February 27,2017, in Portsmouth, in the Eastern District of Virginia,

defendant JEROME BONEY FRAZIER, did unlawftilly, knowingly, and intentionally distribute
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approximately 28 grams of a mixture and substance containing a detectable amount of heroin, a

Schedule I narcotic controlled substance.

         (In violationofTitle 21, United States Code, Sections 841(a)(1) and (b)(1)(C))


                                          COUNT THREE


THE GRAND JURY FURTHER CHARGES THAT:

       On or about March 14,2017, in Portsmouth, in the Eastern District of Virginia, defendant

JEROME BONEY FRAZIER, did unlawfully, knowingly, and intentionally distribute

approximately 28 grams of a mixture and substance containing a detectable amount of heroin, a

Schedule I narcotic controlled substance.

         (In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C))


                                  FORFEITURE ALLEGATION


THE GRAND JURY FURTHER ALLEGES AND FINDS PROBABLE CAUSE THAT:

   1. The defendant, if convicted of any of the violations alleged in Counts One through three

       ofthis Indictment, shall forfeit to the United States, as part of the sentencing pursuant to

       Federal Rule of Criminal Procedure 32,2:

           a. Any property constituting, or derived from, any proceeds obtained, directly or

               indirectly, as the result of the violation;

           b. Any property used, or intended to be used, in any manner or part, to commit, or to

               facilitate the commission of, the violation; and

           c. Any firearm or ammunition used in or involved in the violation.
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                   2. If any property that is subject to forfeiture above, as a resuh of any act or omission of the

                      defendant, (a) cannot be located upon the exercise of due diligence, (b) has been

                      transferred to, sold to, or deposited with a third party, (c) has been placed beyond the

                      jurisdiction of the Court, (d) has been substantially diminished in value, or (e) has been

                      commingled with other property that cannot be divided without difficulty, it is the

                      intention of the United States to seek forfeiture of any other property of the defendant, as

                      subject to forfeiture imder Title 21, United States Code, Section 853(p).

         (In accordance with Title 21, United States Code, Section 853; Title 18, United States Code,
         Section 924(d) as incorporated by Title 28, United States Code, Section 2461.)



                                                                             A TRUE BILL:



                                                                              /s/ Foreperson
                                                                             FOREPERSON




                      DANA J. BOENTE
                      UNITED STATES ATTORNEY



         By:            /s/ William D. Muhr
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